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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                     :
                                                              :
v.                                                            :   ORDER
                                                              :
JESSE DABBS and GUSTAVO GONZALEZ,                             :   19 CR 700 (VB)
                           Defendants.                        :
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        By Order dated October 26, 2020 (Doc. #160), the Court tentatively scheduled the trial of
this case (defendants Dabbs and Gonzalez only) for January 4, 2021. However, upon the strong
recommendation of its expert epidemiologist, and in the interest of protecting the health and
safety of all trial participants, the Southern District has decided that no jury trials shall be
scheduled during the two weeks immediately following the Christmas/New Year’s holiday
period. Accordingly, the trial of this case cannot commence on January 4, 2021.

       The parties are notified that jury selection and trial of this case is now tentatively
scheduled for February 16, 2021, at 9:30 a.m.

        All other dates and deadlines set forth in the October 26 Order remain in effect.

Dated: November 6, 2020
       White Plains, NY
                                                     SO ORDERED:



                                                     ____________________________
                                                     Vincent L. Briccetti
                                                     United States District Judge
